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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                  PORTLAND DIVISION


UNITED STATES OF AMERICA,                                           Case No. 3:12-cv-02265-SI

              PLAINTIFF,
                                                 JOINT MOTION FOR ORDER SETTING
       v.                                        AGENDA FOR FAIRNESS HEARING ON
                                                 AUGUST 29, 2024
CITY OF PORTLAND,

              DEFENDANT.




       Defendant City of Portland (City), Plaintiff United States of America (USA), Intervenor-

Defendant Portland Police Association (PPA), Enhanced Amicus Curiae Albina Ministerial

Alliance Coalition for Justice and Police Reform (AMAC), and Amicus Curiae Mental Health

Alliance (MHA), jointly propose the following agenda (exclusive of any questions and

discussion the Court may have) for the Status Conference set for Thursday August 29, 2024 at

9:00 a.m. in Portland, Courtroom 15B, before Judge Michael H. Simon.
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      9:00 a.m.     Court’s Introductory Remarks      (10 minutes)

      9:10 a.m.     Monitor Presentation              (10 minutes)

      9:20 a.m.     USA Presentation                  (10 minutes)

      9:30 a.m.     City Presentation                 (10 minutes)

      9:40 a.m.     PPA Presentation                  (10 minutes)

      9:50 a.m.     AMAC Presentation                 (10 minutes)

      10:00 a.m.    MHA Presentation                  (10 minutes)

      10:10 a.m.    PCCEP Presentation                (10 minutes)

      10:20 a.m.    Morning Break                     (15 minutes)

      10:35 a.m.    Public Comment                    (75 minutes)

      11:50 a.m.    Court’s Closing Remarks           (10 minutes)


DATED: August 22, 2024

Respectfully submitted,



FOR THE CITY OF PORTLAND:

s/ Robert Taylor                                    s/ Heidi Brown
ROBERT TAYLOR                                       HEIDI BROWN
City Attorney                                       Chief Deputy City Attorney



s/ Sarah Ames                                       s/ Lisa Rogers
SARAH AMES                                          LISA ROGERS
City Attorney                                       City Attorney




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FOR THE UNITED STATES:                         KRISTEN CLARKE
NATALIE K. WIGHT                               Assistant Attorney General
United States Attorney                         Civil Rights Division
District of Oregon
                                               STEVEN H. ROSENBAUM
                                               Chief, Special Litigation Section

                                               s/ Laura L. Cowall
                                               LAURA L. COWALL
                                               Deputy Chief


                                               s/ R. Jonas Geissler
                                               R. JONAS GEISSLER
                                               Trial Attorney

                                               s/ Jared D. Hager
                                               JARED D. HAGER
                                               Trial Attorney

                                               s/ Amy Senier
                                               AMY SENIER
                                               Trial Attorney


FOR THE PORTLAND POLICE ASSOCIATION:

s/ Anil S. Karia
ANIL S. KARIA
Attorney for PPA


FOR THE ALBINA MINISTERIAL ALLIANCE COALITION FOR JUSTICE AND
POLICE REFORM:


s/ J. Ashlee Albies                            s/ Rian Peck
J. ASHLEE ALBIES                               RIAN PECK
Attorney for AMAC                              Attorney for AMAC


FOR THE MENTAL HEALTH ALLIANCE:


s/ Juan Chavez                                 s/ Amanda Lamb
JUAN CHAVEZ                                    AMANDA LAMB
Attorney for MHA                               Attorney for MHA




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ON AUGUST 29, 2024
